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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS

JONATHAN LANGLEY                                  §          Civil Action No.: 1-18-cv-443
                                                  §
         Plaintiff,                               §
                                                  §
vs.                                               §          JURY TRIAL DEMANDED
                                                  §
INTERNATIONAL BUSINESS                            §
MACHINES CORPORATION,                             §
                                                  §
         Defendant.                               §

                                          COMPLAINT

         1.      This action arises under the Age Discrimination in Employment Act of 1967, as

amended, 29 U.S.C. §621 et seq. (“ADEA”), and Chapter 21 of the Texas Labor Code.

                                              Parties

         2.      Plaintiff Jonathan Langley is 60 years old and resides in the Western District of

Texas.

         3.      Defendant International Business Machines Corporation (“IBM”) is a corporation

with its principal offices at 1 New Orchard Road, Armonk, New York 10504-1722. IBM does

business in the Western District of Texas and maintains local offices at 11501 Burnet Road,

Austin, Texas, 78758.

                       Subject Matter Jurisdiction, Venue and Exhaustion

         4.      This Court has jurisdiction over the subject matter of Mr. Langley’s ADEA claim

pursuant to 29 U.S.C. §626(b)-(c) and 28 U.S.C. §1337. Supplemental jurisdiction over Mr.

Langley’s state law claim exists under 28 U.S.C. § 1367.

         5.      Venue is proper in the Western District of Texas pursuant to 28 U.S.C. §1391(b)

and (c).
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       6.      Mr. Langley timely filed a Charge of Discrimination with the EEOC alleging age

discrimination on October 20, 2017 which was cross-filed with the Texas Workforce

Commission civil rights division.       Such filing occurred within 180 days of the unlawful

employment practices alleged in this Complaint. More than 60 days have passed since the filing

of Mr. Langley’s Charge.

                                 Facts Giving Rise To This Action

       7.      The story in Langley v. IBM begins four years ago when IBM undertook to

reinvent itself in the age of the Millennial.




       8.      Shortly after Ginni Rometty became Chief Executive Officer of IBM in 2012,

IBM embarked on a massive reinvention and rebranding campaign that had two principal and

symbiotic objectives: first, to transform IBM into a “Cognitive Solutions” company deeply

invested in the Cloud, Analytics, Mobile, Security and Social technology markets (“CAMS”),1

and second, to change the face of IBM by recruiting and retaining “digitally native” Millennials,

which IBM defined as the generation born after 1980.




1
        See, e.g., Transcript of speech of Ginni Rometty delivered April 26, 2016, available at
https://www.ibm.com/ibm/ginni/04_26_2016.html, accessed April 2, 2017 (“[I]n 2014 [IBM]



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       9.      At a 2014 conference titled “Reinvention In The Age of The Millennial,”2 IBM

expressly linked its success in CAMS to Millennials, asserting that “CAMS are driven by

Millennial Traits.” By “reinventing” itself, IBM sought to “leapfrog[] the existing perception of

IBM to become a leader in Millennial engagement” and thereby “drive CAMS adoption.” IBM

intended to become “exponentially relevant with the Millennial demographic” by “showcas[ing]

IBM’s capabilities in CAMS, driven by the digitally native millennials.”




2
         See, Reinvention in the Age of the Millennial, IBM Center for Applied Insights Blog
published December 16, 2014, accessed March 27, 2017 at
https://ibmcai.com/2014/12/16/reinvention-in-the-age-of-the-millennial/.

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        10.      Millennials represented a “trillion dollar market” and “billions” of dollars in

potential sales for IBM. To capture the Millennial market, IBM had to “become one with the

Millennial mindset.” “Mindshare converts to marketshare,” IBM wrote, and IBM’s “leadership

in millennial engagement is the ideal value proposition for generating CAMS pipeline, which is

driven by Millennial traits.” “[T]he secret to capturing the hearts, minds, and most importantly,

wallets of the millennial generation is likely working with you. Your millennial employees are

your most valuable and accessible asset when it comes to successfully marketing your business

to the millennial generation.”3

        11.      Also in 2014, IBM published “Millennials: How IBM can effectively attract,

engage and retain this emerging generation.” Because Millennials meant big money for IBM

and because IBM “face[d] major competition with [other] companies acquiring Millennials, both

within the tech sector (i.e., Microsoft, Amazon) and beyond,” IBM developed a “strategy to

attract top Millennial talent.”




3
       “Marketing and the Millennial Mindset” – An Interview with IBM’s Samantha Klein, The
Marketing Journal, June 3, 2016, available at http://www.marketingjournal.org/marketing-and-
the-millennial-mindset-an-interview-with-ibms-samantha-klein/

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       12.      IBM aggressively executed its strategy to attract top Millennial talent on social

media. On Twitter, for example, IBM created a Twitter page dedicated solely to Millennials –

#IBMillennial – where IBM praised Millennials regularly and regularly features them on the

IBM Twitter Jobs account.




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       13.      IBM also instituted an “Early Professional” hiring program targeted solely at

young professionals. “The idea is to bring in as much young talent into the workforce with every

given opportunity.”4 IBM tells Millennials that they make great sellers because they are – well,

Millennials – and therefore they should come sell for IBM.




4
       IBM New Team to Focus on Millennials, Business Standard, May 31, 2016, accessed
March 20, 2017 at http://www.business-standard.com/article/companies/ibm-s-new-team-to-
focus-on-millennials-116053000677_1.html



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        14.      Another part of IBM’s Millennial-driven reinvention was expressed in the

creation of IBM’s “Millennial Corps.” IBM’s “Millennial Corps is a group of more than 5,000

IBMers [from] all across the world where Millennial-age and Millennial-minded IBMers come

together to share ideas, feedback and suggestions, [and] really try[] to drive change within [IBM]

as ultimately [they] are the future leaders of it.”5



        15.      Recently, IBM launched youIBM, an international branding campaign vividly

portraying IBM as a youth-oriented tech company.6




5
      Inside IBM: Meet Sarah, a Millennial Corps member who works in Workforce
Enablement, available at https://www.youtube.com/watch?v=jUmULbTzKpE.
6
      See, https://www.ibm.com/thought-leadership/you/manifesto/ accessed July 27, 2017.

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        16.    On YouTube, IBM calls itself a “new IBM” by which it means a youth-oriented

IBM.7




7
        IBM Today, video published May 10, 2017, available at
https://www.youtube.com/watch?v=P3yjLmY_bz4, accessed August 9, 2017. See also,
https://goo.gl/7ern7E, accessed April 2, 2017 (featuring video testimonials of dozens of
Millennial IBMers).

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       17.     IBM writes that “[a]n organization’s internal brand tells its story, and, in turn,

reveals its true culture…. An organization's career site … should portray the company's internal

brand.”8 This is how IBM “reveals its true culture” on its own Career site: 9




8
        Does your internal branding speak to your candidates? © Copyright IBM Corporation
2014, available at https://www-01.ibm.com/common/ssi/cgi-
bin/ssialias?htmlfid=LOS14030USEN, accessed August 8, 2017.
9
       See, http://www-03.ibm.com/employment/us/, http://www-
03.ibm.com/employment/us/meet_ibm.shtml, and http://www-
03.ibm.com/employment/us/find_your_fit.shtml, accessed March 19, 2017.

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     18.    IBM’s LinkedIn page sends a similar age-based signal:10




10
     See, https://www.linkedin.com/company-beta/1009/life/ accessed March 26, 2017.

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       19.    And when CNBC’s Jim Cramer interviewed IBM’s CEO in June, 2017, IBM
                                                                                               11
ensured she was surrounded by Millennials busily working in the background.




       20.    IBM has devoted countless millions of dollars to its effort to rebrand as a hip,

Millennial-centric tech company.      The activities and publications described above are

illustrative, not exhaustive. IBM complemented them with Millennial-themed seminars, holiday

parties, blogs,12 leadership programs, social media initiatives, white papers,13 online videos,




11
       Ginny Rometty June 20, 2017 interview with CNBC’s Jim Cramer, accessed August 2,
2017 and available at https://www.youtube.com/watch?v=fgc4aJ-JMJg.
12
        E.g., Step-by-Step: Lead like a Millennial executive, December 11, 2015, available at
https://www.ibm.com/blogs/think-leaders/how-to/step-by-step-lead-like-a-millennial-executive/;
The Key to Recruiting Millennials, March 17, 2016, available at
https://www.ibm.com/blogs/smarter-workforce/2016/03/the-key-to-recruiting-millennials/
13
        E.g., Can the Millennial generation rescue government? Leveraging digital natives in
your transformation efforts, IBM Institute for Business Value, 2016, available online at
https://www-935.ibm.com/services/us/gbs/thoughtleadership/govtmillennials/

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newscasts14 and other advertising and public relations efforts intended to shed IBM’s image “as a

company composed mainly of aging white guys,” and to substitute in its place a new, cooler,

much younger image of IBM comprised of “rock star” Millennials.15




14
       E.g., The truth behind millennials in the workplace, Fox Business News segment airing
February 15, 2015, available at http://video.foxbusiness.com/v/4069023679001/?#sp=show-clips
15
        17 IBM rock star employees that show the company's new direction, The Business
Insider, April 9, 2015, accessed March 27, 2017, available at
http://www.businessinsider.com/ibm-rock-star-employees-2015-4.

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                              Why “digitally native” Millennials?

       21.     Simple. IBM believes Millennials are the most educated, technologically adept

and digitally proficient generation of workers alive, making them superior to older employees in

the new CAMS markets. Millennials are highly innovative and instinctively collaborative,

whereas Boomers are not. IBM also believes that Millennials “speak Millennial,” giving them a

fluency in communicating with other Millennials and a special rapport with Millennials who

work for companies that purchase IBM’s products and services.

                                   Millennials are awesome!
                                    Boomers, not so much

       22.     In 2015, IBM published “Myths, exaggerations and uncomfortable truths – The

real story behind Millennials in the workplace,”16 a recruiting tool that flattered Millennials and

purported to refute stereotypes about Millennials.




16
       Available at https://www-
935.ibm.com/services/us/gbs/thoughtleadership/millennialworkplace/ accessed March 27, 2017.

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       23.     Myths, exaggerations and uncomfortable truths expressly compared and

contrasted Millennial employees with Generation X and with Baby Boomers. Whereas IBM

professed to find many positive traits associated with the Millennial generation, IBM tended to

be critical of older workers.

       24.     For example, older workers were technologically less sophisticated because they

were not “digital natives.” Baby Boomers allegedly “place[d] less stock in the advantages [that]

data offer[ed] than their younger colleagues” and were comparatively “dubious” of technology.

Boomers were also far less “savvy” than Millennials with respect to social media.

       25.     “Successor generations X and Y are generally much more innovative and

receptive to technology than baby boomers,” IBM wrote in another publication.17          “[A]ge is

catching up with Baby Boomers,” whom IBM referred to as “gray hairs” and “old heads.”18

Boomers were leaving work in increasing numbers “due to retirement or disability.” Those still

working often needed accommodations for “‘wear and tear’ disabilities like hearing and vision

impairment [sic] that older people routinely develop.”19

       26.     Boomer employees were also less likely to admit mistakes at work or collaborate

in decision-making, traits that caused friction in the workplace. “Baby Boomers accustomed to

making decisions on their own may find it difficult to shift to a more collaborative culture, which

can cause tension between older and younger employees.” In a 2015 paper entitled “To buy or




17
       The Maturing Workforce, Innovation in Workforce Enablement, IBM Business
Consulting Services, 2006, p. 6 accessed March 29, 2017, available at https://www-
935.ibm.com/services/uk/bcs/pdf/maturing-workforce-feus01291-1.pdf.
18
       Id. at pp. 2-3.
19
       Id. at p. 3.

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not to buy? How Millennials are reshaping B2B marketing,”20 IBM again found that Boomer

employees were not motivated to consult their colleagues before making decisions. This was a

negative trait because “[f]or leading organizations, a corporate culture of collaboration and

consensus building is needed.” To create that culture, IBM recommended that companies “[p]ut

Millennials on [their] sales and marketing teams.”

       27.    In August, 2016, IBM Marketing Manager Erika Riehle stereotyped Boomer

employees as contributing to five workplace “dysfunctions.”21 Boomers were allegedly less

trusting of their co-workers, less collaborative, less committed, less accountable and less

attentive to results. Compared to younger employees, IBM found that Boomers were the least

likely to understand IBM’s business strategy, least likely to understand their manager’s

expectations of them, least likely to understand what customers wanted, and the least likely to

understand IBM’s brand.

       28.    IBM’s findings about Boomers boded ill for IBM’s Boomer employees because

IBM’s “foundational competencies” consisted of traits such as teamwork and collaboration that

Boomers lacked.

                                  IBM de-ages its workforce

       29.    IBM conspicuously projects a diverse and inclusive employment brand with

respect to race, national origin, gender, disability and sexual orientation. As conspicuously,

however, IBM does not brand itself as being interested in older workers. With respect to age,

IBM’s branding message is clear. Young people are welcome, perfectly fit IBM’s new culture

20
        Accessed March 27, 2017 and available at http://www-01.ibm.com/common/ssi/cgi-
bin/ssialias?htmlfid=GBE03658USEN.
21
       Managing Millennials: 5 Common Issues Leaders Face, published August 24, 2016,
accessed March 27, 2017 at https://www.ibm.com/blogs/social-business/2016/08/24/managing-
millennials-5-common-issues-leaders-face/.

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and are encouraged to apply for employment. At the same time, IBM signals to decisionmakers

that Baby Boomers are not welcome at IBM and do not fit IBM’s new culture. IBM broadcast

these signals loudly, repeatedly and system-wide. And in the years between 2013 and 2017,

IBM’s Boomer employees – being labeled by IBM’s own research as uncollaborative, skeptical

of leadership, technologically unsophisticated, less innovative and generally out of touch with

IBM’s brand, customers and objectives – were shown the door in droves.

       30.     In 2015 alone, IBM laid-off several tens of thousands of employees, the vast

majority of whom were over the age of 40, and the greatest concentration of which were Baby

Boomers.

       31.     When IBM conducts a “Resource Action” (IBM speak for a reduction in force), it

shields its youngest employees from lay-off.     IBM’s Early Professionals are exempt from

reduction for nine months from their hire date. Only IBM’s youngest workers receive this

special treatment.

       32.     Not only does IBM shield its youngest workers from lay-off, at the same time as

IBM has laid off thousands of Baby Boomers, it has aggressively recruited and hired many

thousands of Millennials and members of Generations X and Z.

       33.     IBM’s aggressive hiring of younger workers is part of its deliberate strategy to

“Transform[] to Next Generation Digital Talent.” For example, in IBM’s Software Group

(“SWG”), which is split between Manufacturing and Development (“M&D”) and Sales and

Distribution (“S&D”), IBM sought to increase the percentage of Early Professionals hired into

M&D from 77% in 2012 to 90% in 2015, and the overall percentage of Early Professionals hired

into its SWG from 56% to 65% over the same period.




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       34.     IBM did this by executing over a thousand early allocation university chits,

“build[ing] and leverag[ing] additional early professional talent pools,” substantially increasing

its conversion rate of interns to full hires, and by “sell[ing] early professionals on IBM.”

       35.     IBM also moved to “[s]hift [its] headcount mix towards [a] greater % of Early

Professional hires” and to “re-profile [its] current talent” by implementing a “[c]ontinuous talent

refresh” that “focus[es] on programs to create room for new talent to build skills for key growth

areas in Cloud and Cognitive.”

       36.     IBM’s express purpose is to achieve “55% Early Professional Hires in 2020.” It

aggressively seeks an “influx of EP’s [sic] to correct [its] seniority mix,” has developed specific

strategies for recruiting and hiring Early Professionals, and has created positions for younger

workers by “[u]tilizing various reduction initiatives such as resource action[s],” whereby older

workers are laid-off.

       37.     In Mr. Langley’s Hybrid Cloud business unit, IBM began to “drive a more

aggressive performance management approach to enable [it] to hire and replace, and fund an

influx of EP's to correct [its] seniority mix (46% benchmark vs 21% actual).” IBM sought to

eventually increase the percentage of Early Professionals in its Hybrid Cloud business unit to

59%.

       38.     The deliberately age-based impact of IBM’s lay-offs was so stark and so

statistically significant that in 2014, IBM stopped requesting ADEA releases from its terminated

older workers. 22 IBM did this to circumvent the Older Workers Benefits Protection Act




22
        See, IBM Halts Practice of Disclosing Ages of Fired Older Workers, AARP Work
Matters, May 12, 2014, available at http://blog.aarp.org/2014/05/12/ibm-halts-practice-of-
disclosing-fired-older-workers/.

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(“OWBPA”).23 Although IBM stopped requesting releases of ADEA claims, it nonetheless

required any older worker who accepted IBM’s one month severance offer to privately arbitrate

their ADEA claims, subject to limited discovery and a full waiver of the right to pursue or

participate in a collective action under the ADEA.

       39.     IBM’s excision of so many thousands of older workers – people who had

provided 20, 25 and sometimes 30 or more years of service to IBM – hardly went unnoticed.

After thousands of former IBMers set up online support groups such as “Watching IBM” and

started talking about their lay-off experiences, some of America’s most accomplished

investigative journalists began asking questions.

       40.     Following a lengthy investigation by ProPublica and Mother Jones, journalists

Peter Gosselin and Ariana Tobin published an extensive report in March, 2018 meticulously

detailing how IBM targeted its older employees with layoffs and forced retirements to make

room for substantially younger recruits.24 On May 17, 2018, Mr. Gosselin wrote a companion




23
        Under OWBPA, an employer requesting an ADEA waiver in connection with a group
termination program must provide terminated employees with a list of “the job titles and ages of
all individuals eligible or selected for the program, and the ages of all individuals in the same job
classification or organizational unit who are not eligible or selected for the program.” 29 U.S.C.
§ 626(f)(1)(H)(ii). Congress mandated the disclosure of this comparative information because it
believed that “[t]he principal difficulty encountered by older workers in [a RIF] is their inability
to determine whether the program gives rise to a valid claim under the ADEA... The
informational requirements set forth in the bill are designed to give all eligible employees a
better picture of these factors.” S. Rep. No. 101–263, at 67 (1990), reprinted in 1990
U.S.C.C.A.N. 1509.
24
         See, CUTTING ‘OLD HEADS’ AT IBM, March 22, 2018, available at
https://features.propublica.org/ibm/ibm-age-discrimination-american-workers/.

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article, which reports on the U.S. Equal Employment Opportunity Commission’s large-scale

investigation of IBM’s discriminatory practices.25

       41.     IBM’s primary method for taking out its older workers is surprisingly simple. A

directive comes down to first and second line managers to reduce headcount. Using IBM’s “staff

reduction methodology,” first and second line managers generate secret ratings of employees

eligible for reduction using predominantly subjective evaluation criteria. The employees are

then ranked against one another and the lowest ranked employees are then selected for reduction.

       42.     Age discrimination taints the resource action from the outset because IBM’s

objective is to make room for younger employees. But for IBM’s move to reinvent itself in the

age of the Millennial and its campaign to attract, engage and retain Millennial talent, downsized

older workers would not have been let go.

       43.     At least one statistical analysis performed on an IBM data set found that age

played a statistically significant role in managers’ stack rankings after accounting for the effects

of performance relative to goal, manager-specific idiosyncratic tendencies and job band. In other

words, as age increased, individuals’ stack rankings fell. The analysis further concluded that age

was the only conventionally significant predictor of termination decisions.         The IBM data

supported the conclusion that employees’ age had a significant effect on managerial rankings,

and that these rankings, in turn, were the primary input into selection decisions.             This

mediational pattern showed that age had a significant indirect effect on termination decisions,

controlling for other available information. In other words, controlling for non-age factors, as an




25
  See, FEDERAL WATCHDOG LAUNCHES INVESTIGATION OF AGE BIAS AT IBM, May
17, 2018, available at https://www.propublica.org/article/federal-watchdog-launches-
investigation-of-age-bias-at-ibm.

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IBMer aged, she or he became worse off. Holding non-age factors constant, managers lowered

stack rankings and were increasingly likely to select employees for reduction as they grew older.

       44.     IBM managers sometimes pre-select employees for reduction before performing

the staff reduction methodology. That is to say, IBM managers sometimes reverse engineer their

staff reduction worksheets by first selecting the employees they wish to terminate, and then

creating ratings and rankings that purport to justify their selection decisions.

       45.     Beyond this, line managers often fail to rate people on their teams and instead rate

people who report to other line managers, both violations of IBM’s written staff reduction

guidelines.

                               Mr. Langley’s Performance at IBM

       46.     Mr. Langley, age 60, joined IBM in 1993 and worked continuously for IBM for

the next 24 years.

       47.     In 2016 and into 2017, Mr. Langley worked as Worldwide Program

Director/Sales Lead Bluemix SaaS in IBM’s Hybrid Cloud business unit. He reported to Kim

Overbay, age 43, Director of Global Sales, IBM Application Platform and Runtimes, who in turn

reported to Andrew Brown, age 46, Vice President of Worldwide Sales, IBM Hybrid Cloud

Software.

       48.     Mr. Langley was a successful employee and his performance met or exceeded

IBM’s expectations.

       49.     In addition to a substantial salary, Mr. Langley earned substantial bonus pay and

fringe benefits with IBM, including a health benefits portfolio consisting of medical insurance,

dental insurance, vision insurance, disability insurance, a Health Saving Account and a Flexible




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Spending Account. Mr. Langley also had a 401K+ Plan, a vacation plan providing for 20 days

of paid vacation, a paid holiday plan, an Employee Stock Purchase Plan and life insurance.

       50.     In January 2017, IBM awarded Mr. Langley a $20,000 performance bonus for Q4

2016 that his supervisor Kim Overbay said was the largest bonus on her team.

       51.     Mr. Langley’s bonus for 2016 was 55% above his 2015 bonus.

                            Mr. Langley’s Termination from IBM

       52.     In December, 2016, Mr. Brown sent Mr. Langley a private email telling him that

he needed to look for a new job.

       53.     On or about March 30, 2017, Kim Overbay told Mr. Langley that he was being

permanently laid off effective June 28, 2017 as part of a resource action.

       54.     Mr. Langley applied for four other positions with IBM in an effort to continue his

employment. He was not hired for any of them.

       55.     Although IBM had involuntarily terminated Mr. Langley, IBM subsequently

marked Mr. Langley as having “resigned” in its HRIS system. Then, on or about July 6, 2017,

Mr. Langley received a letter from IBM congratulating him on his “retirement.”

                                     IBM Lies to the EEOC

       56.     IBM told the EEOC that Overbay, using a staff reduction methodology in

January, 2017, selected Langley for reduction because he scored lowest on Overbay’s secret

stack ranking when she ranked him against three other members of his team. It also claimed that

Langley was the youngest of the four people Overbay evaluated.

       57.     In fact, however, Overbay’s January, 2017 staff reduction methodology was not

how IBM selected Mr. Langley for reduction. Brown had told Langley in December, 2016 that




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Langley needed to look for other employment. IBM had selected Langley for reduction before

Overbay’s alleged evaluation and selection decision in January.

       58.     IBM also lied about the number of people on Overbay’s team; there were at least

eight people who reported to Overbay, not four.

       59.     IBM similarly lied about Langley’s job performance, claiming that Langley was

not collaborative, communicative, responsive to the sales team and so on.

       60.     Overbay’s criticisms are contradicted by dozens of emails praising Langley for

the very skills that Overbay claimed Langley lacked.

       61.     Overbay’s criticisms are contradicted by Langley’s consistent receipt of 1, 2+ or 2

performance ratings on his Personal Business Commitment (“PBC”) annual performance

reviews, which ratings were all relative to other members of his team, and which ratings

reflected that Langley performed his job at least as well and often above the level of other

members of his team.

       62.     Overbay’s criticisms are also contradicted by the Langley’s receipt of the largest

performance bonus of any member of his team in January, 2017.

       63.     Contrary to the pretextual reasons articulated in IBM’s EEOC Position Statement,

the actual reason for selecting Mr. Langley for termination was his age.

       64.     IBM treated substantially younger persons more favorably by (a) signaling

through its internal and external branding and marketing that IBM wished to hire and/or retain

younger persons, (b) applying subjective RIF criteria designed to screen out older workers,

disregarding the official PBC ratings and evaluations of older workers who were strong

performers and assigning them lower ratings for the purpose of selecting them for reduction,




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(c) not selecting younger persons for reduction, (d) providing younger workers training

opportunities that were not provided to older workers, and by (e) transferring younger employees

selected for reduction to other positions in IBM.

        65.    Had Mr. Langley been younger, and especially if he had been a Millennial, IBM

would not have fired him.

        66.    Mr. Langley’s age was a motivating factor in his selection for termination.

               Count I – ADEA - Disparate Treatment Involving Termination

        67.    Mr. Langley incorporates by reference the allegations above as though set forth in

full.

        68.    IBM terminated Mr. Langley because of his age in violation of the Age

Discrimination in Employment Act, 29 U.S.C. §623(a)(1).

        69.    IBM’s violation of the ADEA was willful.

        70.    As the direct result of IBM’s age discrimination, Mr. Langley has sustained and

will continue to sustain wage and benefits losses, and has incurred and will continue to incur out

of pocket losses, including attorney fees and legal costs.

        71.    As the direct result of Defendant’s pretextual criticisms of Mr. Langley’s

performance, Mr. Langley has lost earnings capacity.

        WHEREFORE, Mr. Langley demands judgment as follows:

               a.      That IBM be ordered to pay Mr. Langley back pay and benefits with
                       interest;

               b.      That IBM be ordered to reinstate Mr. Langley to his former position with
                       all lost pay and benefits, seniority and promotions;

               c.      That in the alternative, IBM be required to pay Mr. Langley front pay and
                       benefits in the event reinstatement is not feasible;




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               d.     That a final judgment in favor of Mr. Langley and against IBM be entered
                      for liquidated damages in an amount equal to the amount of wages due
                      and owing to Mr. Langley;

               e.     That Mr. Langley be awarded damages for loss of earnings capacity;

               f.     That IBM be enjoined from discriminating against Mr. Langley in any
                      manner that violates the ADEA;

               g.     That Mr. Langley be awarded the costs and expenses of this litigation and
                      his reasonable attorney fees;

               h.     That Mr. Langley be awarded compensation for the adverse tax
                      consequences of his recovery of wages and benefits in a lump sum, and,

               i.     That Mr. Langley be granted such further legal and equitable relief as the
                      Court may deem just and proper.

 Count II – Chapter 21 Texas Labor Code – Disparate Treatment Involving Termination

       72.     Mr. Langley incorporates all paragraphs above as though set forth in full.

       73.     IBM’s practices as set forth in Count I violate Chapter 21 of the Texas Labor

Code prohibiting discrimination on the basis of age.

       74.     IBM acted with reckless indifference to Mr. Langley’s right under Texas law to

be free from age discrimination.

       75.     As the direct result of the aforesaid employment practices, Mr. Langley sustained

the damages and injuries set forth above, as well as grief, anxiety, worry and distress.

       WHEREFORE, Mr. Langley demands judgment as follows:

               a.     That IBM be ordered to pay Mr. Langley back pay and benefits with
                      interest;

               b.     That IBM be ordered to reinstate Mr. Langley to his former position with
                      all lost pay and benefits, seniority and promotions;

               c.     That in the alternative, IBM be required to pay Mr. Langley front pay and
                      benefits in the event reinstatement is not feasible;




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   d.    That a final judgment in favor of Mr. Langley and against IBM be entered
         for liquidated damages in an amount equal to the amount of wages due
         and owing to Mr. Langley;

   e.    That Mr. Langley be awarded damages for loss of earnings capacity;

   f.    That IBM be enjoined from discriminating against Mr. Langley in any
         manner that violates the ADEA;

   g.    That Mr. Langley be awarded the costs and expenses of this litigation and
         his reasonable attorney fees;

   h.    That Mr. Langley be awarded compensatory and punitive damages;

   i.    That Mr. Langley be awarded compensation for the adverse tax
         consequences of his recovery of wages and benefits in a lump sum, and,

   j.    That Mr. Langley be granted such further legal and equitable relief as the
         Court may deem just and proper.

                                    Respectfully submitted,


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